         Case 1:24-cv-01301-ACR          Document 13         Filed 04/02/25      Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    GUN OWNERS OF AMERICA, INC., et al.,

                 Plaintiffs,
                                                            Civil Action No. 24-1301 (ACR)
          v.

    FEDERAL BUREAU OF INVESTIGATION,

                 Defendant.



                                    JOINT STATUS REPORT

         Pursuant to the Court’s August 22, 2024 Minute Order, the parties provide the following

Joint Status Report in this Freedom of Information Act (“FOIA”) matter:

         1.     In its last Joint Status Report, Defendant reported that it had completed its search

for records, identifying approximately 15,200 pages of potentially responsive records. On

February 20, 2025, the FBI made its fifth interim production, which consisted of 500 pages

reviewed, of which 41 pages were released. On March 20, 2025, the FBI made its sixth interim

production, which consisted of 500 pages reviewed, of which 57 pages were released. Pursuant to

its standard process, the FBI will review 500 pages per month and will provide monthly interim

productions until processing is complete. 1

         2.     The parties propose that they file a further joint status report in approximately sixty

days, or by June 2, 2025, and every sixty days thereafter, to update the Court on the status of

Defendant’s processing of Plaintiffs’ request. A proposed order is submitted herewith.



                                                 Respectfully submitted,
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         Any pages that are determined be out of scope or duplicative will not be processed.
      Case 1:24-cv-01301-ACR    Document 13      Filed 04/02/25    Page 2 of 3




Dated: April 2, 2025
       Washington, DC                EDWARD R. MARTIN, JR., D.C. Bar #481866
                                     United States Attorney



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                                      2
       Case 1:24-cv-01301-ACR          Document 13        Filed 04/02/25      Page 3 of 3




                              UNITED STATES DISTRICT COURT
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 GUN OWNERS OF AMERICA, INC., et al.,

                Plaintiffs,
                                                         Civil Action No. 24-1301 (ACR)
        v.

 FEDERAL BUREAU OF INVESTIGATION,

                Defendant.



                                     PROPOSED ORDER

       Upon consideration of the parties’ April 2, 2025 Joint Status Report, it is hereby

       ORDERED that the parties shall file a further Joint Status Report on or before June 2, 2025,

and every sixty days thereafter, to apprise the Court of the progress of Defendant’s processing of

Plaintiffs’ FOIA request.

SO ORDERED.

Date: ____________________                           _______________________________

                                                            United States District Judge




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